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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


UNITED STATES OF AMERICA

         vs.                        4:08CR00094-02-WRW

ANSLEMO NAVA


                                            ORDER

         Pending before the Court is the Government’s Motion to Dismiss Without Prejudice (doc

#37) the Indictment against separate defendant, Anslemo Nava. The Motion is GRANTED, and the

Indictment is dismissed as to the defendant, Anslemo Nava. The defendant, who is in federal

custody, can be released by this Order providing there are no other holds on him.

         IT IS SO ORDERED this 23rd day of January, 2009.




                                                          /s/Wm. R. Wilson, Jr.
                                                     UNITED STATES DISTRICT JUDGE




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